                  Case 23-10961-BLS                  Doc 227         Filed 08/29/23            Page 1 of 20




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.1                                                Case No. 23-10961-BLS

                                                                    (Jointly Administered)
           Debtors.


  DEBTORS’ EXPEDITED MOTION FOR ENTRY OF AN INTERIM AND FINAL
      ORDER (A) ESTABLISHING NOTICE AND HEARING PROCEDURES
FOR TRADING IN OR DECLARATIONS OF WORTHLESSNESS WITH RESPECT TO
             EQUITY SECURITIES IN WILLIAMS INDUSTRIAL
       SERVICES GROUP INC.; AND (II) GRANTING RELATED RELIEF

          The above captioned debtors and debtors in possession (collectively, the “Debtors2”) file

this (“Motion”) for entry of an interim order substantially in the form attached hereto as Exhibit A

(the “Interim Order”) and a final order substantially in the form attached hereto as Exhibit B (the

“Final Order”) establishing notice and hearing procedures that must be followed before certain

transfers of, or certain declarations of worthlessness with respect to, equity securities in Debtor

Williams Industrial Services Group, Inc. (“Williams”), or of any beneficial interest therein, are

deemed effective. In support of this Motion, the Debtors rely upon and incorporate by reference

the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and First Day Pleadings

(“First Day Declaration”) [D.I. 2]. In support of this Motion, the Debtors respectfully represent as

follows:



1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them in the First Day Declaration.
               Case 23-10961-BLS         Doc 227      Filed 08/29/23     Page 2 of 20




                                      RELIEF REQUESTED

        1.      By this Motion, pursuant to sections 105(a), 362(a)(3) and 541 of title 11 of the

United States Code (the “Bankruptcy Code”), the Debtors seek entry of an Interim Order, on an

expedited basis, establishing notification and hearing procedures that must be satisfied before

certain transfers of, or certain declarations of worthlessness with respect to, equity securities in

Williams, or of any beneficial interests therein, including Options (as defined below) to acquire

such securities, are deemed effective. The procedures are designed to protect and preserve the

potential value of the Debtors’ U.S. federal and state tax attributes, including but not limited to,

net operating losses and net operating loss carryforwards (“NOLs” and, collectively with capital

losses, net unrealized built-in losses, tax and business credits, and certain other tax attributes, the

“Tax Attributes”).

        2.      If no such restrictions are imposed by this Court, the Debtors’ ability to use, or

realize the value of, their Tax Attributes could be impaired or even eliminated. This could lead to

significant negative consequences for the Debtors, their estates, creditors, stakeholders, and other

parties in interest.

        3.      To preserve, to the fullest extent possible, the Tax Attributes, the Debtors seek

immediate procedural relief that will enable the Debtors to closely monitor certain transfers of, or

certain declarations of worthlessness with respect to, Williams equity securities so as to be in a

position to act expeditiously, if necessary, to preserve their Tax Attributes. The Debtors request

that the Court enter an Interim Order preserving the status quo in this regard.




                                                  2
                  Case 23-10961-BLS                 Doc 227         Filed 08/29/23           Page 3 of 20




          4.        In addition, the Debtors request that the Court schedule a final hearing (the “Final

Hearing”)3 to consider the relief requested herein on a final basis and entry of the Final Order.

          5.        For the reasons set forth herein, the Debtors submit that the relief requested is in

the best interest of the Debtors, their estates, creditors, and other parties in interest.

                    JURISDICTION, VENUE AND PREDICATES FOR RELIEF

          6.        This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This is a core proceeding under 28 U.S.C. § 157(b).

Venue of these chapter 11 cases and this Motion is proper in this District under 28 U.S.C. §§ 1408

and 1409.

          7.        The predicates for the relief requested by this Motion are sections 105(a), 362(a)(3)

and 541 of the Bankruptcy Code and Rules 3001, 6003, and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

          8.        Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a final judgment or order with respect to this Motion if it is

determined that this Court lacks Article III jurisdiction to enter such final order or judgment absent

consent of the parties.




3 The period between the date this Motion is filed and the Final Hearing is referred to herein as the “Interim Period.” The Debtors

estimate that the Interim Period will last twenty-one (21) days where such an estimate is required for the purposes of the relief
requested herein.



                                                                3
             Case 23-10961-BLS         Doc 227       Filed 08/29/23    Page 4 of 20




                                        BACKGROUND

       A.      OVERVIEW

       9.      On July 22, 2023 (the “Petition Date”), Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code. The Debtors have continued in possession of their

properties and have continued to operate and manage their business as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request has been made for the

appointment of a trustee or examiner. On August 2, 2023, the Office of the United States Trustee

appointed an official committee of unsecured creditors (the “Committee”) in these chapter 11

bankruptcy cases.

       10.     On August 19, 2023, the Court entered an Order (i) Approving Bidding Procedures

for the Sale of Debtors’ Assets, (ii) Scheduling Hearings and Objection Deadlines with Respect to

the Sale, (iii) Scheduling Bid Deadlines and an Auction, (iv) Approving the Form and Manner of

Notice Thereof, (v) Approving Assumption and Assignment Procedures for Executory Contracts

and Unexpired Leases, (vi) Authorizing and Approving the Debtors’ Entry into the Stalking Horse

APA, (vii) Authorizing and Approving Bid Protections, and (viii) Granting Related Relief [D.I.

196] (the “Bidding Procedures Order”), which approved, among other things, certain procedures

in connection with the sale or sales of certain of the Debtors’ assets (the “Bidding Procedures”).

       11.     In connection with the Bidding Procedures and as approved in the Bidding

Procedures Order, Debtors executed an Asset Purchase Agreement (the “Stalking Horse APA”) with

Energy Solutions. The Stalking Horse APA identifies Energy Solutions Nuclear Services, LLC as

the proposed Stalking Horse Bidder, and provides certain Bid Protections as specified therein.

       12.     Pursuant to the Bidding Procedures Order, the deadline by which all bids for the

Assets must be actually received by the parties specified in the Bidding Procedures is August 29,

2023, at 5:00 p.m. (prevailing Eastern Time).


                                                 4
               Case 23-10961-BLS        Doc 227       Filed 08/29/23    Page 5 of 20




       13.      In accordance with Local Rule 6004-1(c)(ii)(A), the date and time of the Auction,

if needed, is August 31, 2023, at 10:00 a.m. (prevailing Eastern Time).

       14.      Additional background and information regarding the Debtors, including its

business operations, its corporate and capital structure, its restructuring activities, and the events

leading to the commencement of these Chapter 11 Cases, is set forth in detail in the First Day

Declaration.

       B.       THE DEBTORS’ TAX ATTRIBUTES

       15.      The Debtors have generated, and may currently be generating, NOLs and other Tax

Attributes. Generally, a company generates NOLs if its operating expenses exceed the revenues it

has earned during a single tax year. As of December 31, 2022, the Debtors estimated that Williams

had valuable Tax Attributes including, without limitation, (i) federal NOLs in excess of $200

million, (ii) state NOLs in excess of $250 million, (iii) foreign operating loss carryforwards in

excess of $5 million, and foreign tax credit carryforwards in excess of $4 million. Although the

value of the Debtors’ Tax Attributes is contingent on the amount of the Debtors’ taxable income

that may be offset by the Tax Attributes before their expiration and any existing limitations on

their usage, the Debtors’ NOLs and other Tax Attributes may translate into future tax savings for

the Debtors that are valuable assets of the Debtors’ estates.

       16.      The Debtors’ Tax Attributes are a valuable asset because title 26 of the United

States Code (the Internal Revenue Code of 1986, as amended, the “IRC”) generally permits

corporations to offset the Debtors’ taxable income in the taxable year in which such Tax Attributes

are realized, with any excess generally being carried forward to reduce the Debtors’ future federal

income tax liabilities, potentially making funds available to meet working capital requirements




                                                  5
                    Case 23-10961-BLS                 Doc 227         Filed 08/29/23            Page 6 of 20




and service debt. See 26 U.S.C. §§ 38, 39, 172, 904.4 In particular, the Tax Attributes may be

available to the Debtors to offset future tax liability arising from ordinary course activity and other

transactions contemplated during the course of the Chapter 11 Cases, including associated with a

sale under section 363 of the Bankruptcy Code.

            C.        POTENTIAL LIMITATIONS ON THE USE OF THE DEBTORS’ TAX
                      ATTRIBUTES

            17.       As a general matter, if a corporation undergoes an “ownership change,” section 382

of the IRC (“Section 382”) could impair the corporation’s ability to use its Tax Attributes to offset

future taxable income. See 26 U.S.C. § 382.5 Under Section 382, an ownership change occurs

when the percentage, by value, of a company’s equity held by one or more persons holding five

percent or more of the stock (in certain cases, taking into account Options to acquire such stock)

(the “5% Shareholders”) has increased by more than 50 percentage points over the lowest

percentage of equity owned by such 5% Shareholders at any time during the preceding three-year

period or since the last ownership change, as applicable (the “Testing Period”). See id. at § 382(g).

If there has been a prior ownership change, the Testing Period for determining whether another

ownership change has occurred begins on the first day following the date of the prior ownership

change. See id. at § 382(i).

            18.       An ownership change can also occur as a result of a “worthless stock deduction”

claimed by any “50% Shareholder.” A 50% Shareholder is any person that owned 50 percent or

more of a corporation’s stock at any time during the three-year period ending on the last day of the

taxable year with respect to which the worthless stock deduction is claimed. See 26 U.S.C.


4
    Some states have similar rules that may allow the NOLs to reduce the Debtors’ state income tax liability.
5 Section 383 of the IRC imposes a similar limitation to certain tax credits of a corporation. For clarity, this discussion refers only

to Section 382, but the rules, principles, and policies discussed therein are generally applicable to section 383’s limit to a
corporation’s use of credits after an ownership change and are incorporated by reference into section 383 by the IRC and the
Treasury Regulations promulgated thereunder. See 26 U.S.C. § 383(e); 26 C.F.R. § 1.383-1(g).



                                                                  6
                  Case 23-10961-BLS                 Doc 227         Filed 08/29/23          Page 7 of 20




382(g)(4)(D). If the 50% Shareholder still owns the corporation’s stock at the end of the year,

Section 382 essentially treats the person as newly purchasing the stock on the first day of the next

taxable year. Notably, while the seminal case of Official Comm. of Unsecured Creditors v. PSS

S.S. Co. (In re Prudential Lines, Inc.), 928 F.2d 565 (2d Cir. 1991) is generally relied upon to

support equity trading motions, the specific issue in Prudential Lines was, in fact, a worthless

stock deduction.

          19.       The general purpose of Section 382 is to prevent a company with taxable income

from reducing its tax obligations by acquiring control of another corporation with NOLs, net

unrealized built-in loss (“NUBIL”) or certain other tax attributes, so called “trafficking in losses.”

To achieve this objective, Section 382 limits the amount of taxable income that can be offset by a

corporation’s “pre-change losses” to an annual amount equal to the product of the long-term tax-

exempt rate (as published monthly by the U.S. Department of the Treasury) as of the ownership

change date and the fair market value of the equity of the loss corporation immediately before the

ownership change (a “Section 382 Limitation”).6 Pre-change losses include the Tax Attributes

and, potentially, certain other deductions. Once an NOL or certain other Tax Attributes are limited

under Section 382, their use is limited forever, while the use of any NUBIL is limited for a period

of five years beginning on the date of the ownership change.

          D.        PROPOSED PROCEDURES FOR TRADING IN OR DECLARATIONS OF
                    WORTHLESSNESS WITH RESPECT TO EQUITY SECURITIES

          20.       By establishing procedures for continuously monitoring the trading of, and

declarations of worthlessness with respect to, Williams equity securities, the Debtors can preserve

their ability to seek substantive relief at the appropriate time, particularly if it appears that such


6 For ownership changes occurring in August 2023, the applicable long-term tax-exempt rate is 3.05 percent. If a corporation has a

“net unrealized built-in gain” (“NUBIG”) in their assets as of the time of the ownership change, the Section 382 Limitation may
be increased in certain circumstances.



                                                                7
                  Case 23-10961-BLS                   Doc 227         Filed 08/29/23            Page 8 of 20




activities may jeopardize the use of their Tax Attributes. Accordingly, the Debtors request that this

Court enter the Interim Order and Final Order establishing procedures for certain trading in, and

certain declarations of worthlessness with respect to, equity securities. The proposed procedures

are as follows:7

          Procedures for Trading in Equity Securities

                    a)         Any purchase, sale, or other transfer of equity securities (including any
                               transfer of Options, as defined below, to acquire such securities or any
                               exercise thereof) in Williams on or after the Petition Date in violation of the
                               procedures set forth herein (including notice requirements) shall be null and
                               void ab initio as an act in violation of the automatic stay under sections 362
                               and 105(a) of the Bankruptcy Code; and the person or entity making such
                               purchase, sale, or other transfer shall be required to take remedial actions
                               specified by the Debtors, which may include the actions specified in Private
                               Letter Ruling 201010009 (Dec. 4, 2009), to appropriately reflect that such
                               transfer is null and void ab initio;

                    b)         Any person or entity (as defined in Treasury Regulations Section 1.382-
                               3(a)) who currently is or becomes a Substantial Shareholder (defined in
                               subparagraph (f) below) shall file with this Court, and serve on counsel to
                               the Debtors and counsel to the Committee a notice of such status, in the
                               form of Exhibit C-1 attached hereto, on or before the later of (i) 21 calendar
                               days after the date of the Notice of Interim Order or Notice of Final Order
                               (as defined below and as applicable) and (ii) 10 calendar days after
                               becoming a Substantial Shareholder. For the avoidance of doubt, the other
                               procedures set forth herein shall apply to any Substantial Equityholder even
                               if no notice has been filed pursuant to this subparagraph (b);

                    c)         At least 21 calendar days prior to effectuating any transfer of equity
                               securities (including Options, as defined below, to acquire such securities
                               or any exercise thereof) that would result in an increase in the amount of
                               Williams Stock beneficially owned by a Substantial Shareholder or would
                               result in a person or entity becoming a Substantial Shareholder, such
                               Substantial Shareholder or potential Substantial Shareholder shall file with
                               this Court, and serve on counsel to the Debtors and counsel to the
                               Committee advance written notice, in the form of Exhibit C-2 attached



7 With respect to the procedures set forth herein, the Debtors request that the Court permit the Debtors to waive, in writing, in their

reasonable discretion following consultation with the Committee, any and all restrictions, stays and notification procedures
contained in this Motion or the Interim/Final Order; provided, however, the Debtors shall provide notice of any such waiver to (i)
the Office of the United States Trustee for Region 3 (the “U.S. Trustee”) and (ii) counsel to the Committee in writing within three
business days thereafter.



                                                                  8
                 Case 23-10961-BLS                Doc 227         Filed 08/29/23          Page 9 of 20




                             hereto, of the intended transfer of equity securities (including Options to
                             acquire such securities, as defined below);

                   d)        At least 21 calendar days prior to effectuating any transfer of equity
                             securities (including Options, as defined below, to acquire such securities)
                             that would result in a decrease in the amount of Williams Stock beneficially
                             owned by a Substantial Shareholder or would result in a person or entity
                             ceasing to be a Substantial Shareholder, such Substantial Shareholder shall
                             file with this Court, and serve on counsel to the Debtors and counsel to the
                             Committee advance written notice, in the form of Exhibit C-3 attached
                             hereto, of the intended transfer of equity securities (the notices required to
                             be filed and served under subparagraph (c) and this subparagraph (d), each
                             a “Notice of Proposed Transfer”);

                   e)        The Debtors and the Committee shall have 21 calendar days after receipt of
                             a Notice of Proposed Transfer to file with this Court and serve on such
                             Substantial Shareholder an objection to any proposed transfer of equity
                             securities (including Options, as defined below, to acquire such securities)
                             described in the Notice of Proposed Transfer on the grounds that such
                             transfer may adversely affect the Debtors’ ability to utilize their Tax
                             Attributes. During such 21-day period, and while any objection by the
                             Debtors (or any other party in interest) to the proposed transfer is pending,
                             such Substantial Shareholder shall not effectuate the proposed transfer to
                             which the Notice of Proposed Transfer relates and thereafter shall do so only
                             in accordance with the Court’s ruling, and, as applicable, any appellate rules
                             and procedures. If neither the Debtors nor the Committee objects within
                             such 21-day period, such transaction may proceed solely as set forth in the
                             Notice of Proposed Transfer. Further transactions within the scope of this
                             subparagraph (e) must be the subject of additional notices as set forth herein,
                             with an additional 21-day waiting period; and

                   f)        For purposes of these procedures, (A) a “Substantial Shareholder” is any
                             person or entity (as defined in Treasury Regulations Section 1.382-3(a))
                             which beneficially owns at least 4.50% of all issued and outstanding shares
                             (equal to, as of the Petition Date, approximately 1,224,467.60 shares)8 of
                             the common stock of Williams (“Williams Stock”) and (B) “beneficial
                             ownership” (of any variation thereof) of Williams Stock and Options to
                             acquire Williams Stock shall be determined by the Debtors, in accordance
                             with applicable rules under Section 382, Treasury Regulations promulgated
                             thereunder (other than Treasury Regulations Section 1.382-2T(h)(2)(i)(A)
                             (that treats stock of an entity as to which the constructive ownership rules
                             apply as no longer owned by that entity) and rulings issued by the Internal
                             Revenue Service, and thus, to the extent provided therein, from time to time
                             shall include, without limitation, (i) direct, indirect and constructive
                             ownership (e.g., (1) a holding company would be considered to beneficially

8 Based on approximately 4.50% of 27,210,391 shares of Williams Stock issued and outstanding as of the Petition Date.




                                                              9
     Case 23-10961-BLS        Doc 227       Filed 08/29/23    Page 10 of 20




              own all shares owned or acquired by its subsidiaries, (2) a partner in a
              partnership would be considered to beneficially own its proportionate share
              of any equity securities owned by such partnership, (3) an individual and
              such individual’s family members may be treated as one individual, (4)
              persons and entities acting in concert to make a coordinated acquisition of
              equity securities may be treated as a single entity, and (5) a holder would be
              considered to beneficially own equity securities that such holder has an
              Option (as defined herein) to acquire). An “Option” to acquire stock
              includes all interests described in Treasury Regulations Section 1.382-
              4(d)(9), including any contingent purchase right, warrant, convertible debt,
              put, call, stock subject to risk of forfeiture, contract to acquire stock, or
              similar interest, regardless of whether it is contingent or otherwise not
              currently exercisable.

Procedures for Declarations of Worthlessness of Equity Securities

       a)     Any declaration of worthlessness of equity securities of Williams (including
              Options to acquire such securities) on or after the Petition Date in violation
              of the procedures set forth herein (including notice requirements) shall be
              null and void ab initio as an act in violation of the automatic stay under
              sections 362 and 105(a) of the Bankruptcy Code, and the person or entity
              making such declaration shall be required to file an amended tax return
              revoking such declaration and any related deduction to appropriately reflect
              that such declaration is void ab initio;

       b)     Any person or entity that currently is or becomes a 50% Shareholder
              (defined in subparagraph (e) below) must file with this Court and serve on
              counsel to the Debtors and counsel to the Committee advance written
              notice, in the form of Exhibit C-4 attached hereto, on or before the later of
              (i) 21 calendar days after the date of the Notice of Interim Order or Notice
              of Final Order (as defined below and as applicable), and (ii) ten calendar
              days after becoming a 50% Shareholder;

       c)     Prior to filing any federal or state tax return or any amendment to such a
              return that claims any deduction for worthlessness of beneficial ownership
              of Williams Stock for a tax year ending before the Debtors’ emergence from
              chapter 11 protection, such 50% Shareholder must file with this Court and
              serve on counsel to the Debtors and counsel to the Committee a Declaration
              of Intent to Claim a Worthless Stock Deduction, substantially in the form
              annexed to these procedures as Exhibit C-5;

       d)     The Debtors and the Committee will have 21 calendar days after receipt of
              a Declaration of Intent to Claim a Worthless Stock Deduction to file with
              this Court and serve on such 50% Shareholder an objection to any proposed
              claim of worthlessness described in the Declaration of Intent to Claim a
              Worthless Stock Deduction on the grounds that such transfer may adversely
              affect the Debtors’ ability to utilize their Tax Attributes. During such 21-


                                       10
             Case 23-10961-BLS         Doc 227       Filed 08/29/23    Page 11 of 20




                       day period, and while any objection by the Debtors or the Committee (or
                       any other party in interest) to the proposed transfer is pending, such 50%
                       Shareholder shall not file the return or amendment to which the Declaration
                       of Intent to Claim a Worthless Stock Deduction relates and thereafter shall
                       do so only in accordance with the Court’s ruling, and, as applicable, any
                       appellate rules and procedures. If neither the Debtors nor the Committee
                       objects within such 21-day period, the filing of the return or amendment
                       with such claim will be permitted solely as described in the Declaration of
                       Intent to Claim a Worthless Stock Deduction; and

               e)      For purposes of these procedures, “50% Shareholder” is any person or entity
                       that has beneficially owned 50 percent or more of the equity securities of
                       Williams during the time frame determined in accordance with IRC §
                       382(g)(4)(D) and the applicable Treasury Regulations thereunder.

       E.      NOTICE OF PROCEDURES FOR INTERIM ORDER AND FINAL ORDER

               a)      Notice of Interim Order

       21.     To ensure parties in interest receive appropriate notice of the procedures for trading

equity securities in the Debtors, the Debtors hereby request that this Court approve the following

notice provisions for such procedures. Following entry of an Interim Order granting the Motion,

the Debtors propose to send a notice in substantially the form attached hereto as Exhibit C-6 (the

“Notice of Interim Order”) to the following parties: (a) the Office of the U.S. Trustee; (b) counsel

to the Official Committee of Unsecured Creditors; (c) the Office of the United States Attorney for

the District of Delaware; (d) counsel for the prepetition secured lenders; (e) the Internal Revenue

Service; (f) the U.S. Securities & Exchange Commission; (g) all banks, brokers, intermediaries,

other nominees or their mailing agents (collectively, the “Nominees”) that hold Williams Stock in

“street name” for the beneficial holders of the Williams Stock, as applicable; (h) the transfer

agent(s) for the Williams Stock, as applicable; (i) registered holders of Williams Stock; (j) all

known Substantial Shareholders, if any; and (k) all parties that have filed a notice of appearance

and request for service of papers pursuant to Bankruptcy Rule 2002 (collectively, the “Equity

Trading Notice Parties”).



                                                11
             Case 23-10961-BLS         Doc 227        Filed 08/29/23   Page 12 of 20




       22.     Any person or entity, broker or agent acting on their behalf, who sells at least

1,224,467.60 shares (approximately 4.50% of all issued and outstanding shares of Williams Stock),

or an Option with respect thereto, to another person or entity shall be required to provide Notice

of Interim Order (unless the Court has entered the Final Order) to such purchaser of such Williams

Stock, or any broker or agent acting on their behalf, to the extent reasonably feasible. The Notice

of Interim Order will provide information as to the procedures to be followed in trading the

Williams Stock and include notice of a hearing to grant the motion on a final basis and an

opportunity to object before entry of the Final Order. If, at the time of the purchase, the Court has

entered the Final Order, any person or entity, or broker or agent acting on their behalf, who sells

at least 1,224,467.60 shares (approximately 4.50% of all issued and outstanding shares of Williams

Stock), or an Option with respect thereto, to another person or entity shall provide the purchaser

(or its agent) with the Notice of Final Order as provided in detail below.

               b)      Notice of Final Order

       23.     Following entry of the Final Order, the Debtors propose to send a notice in

substantially the form attached hereto as Exhibit C-7 (the “Notice of Final Order”) to the Equity

Trading Notice Parties.

       24.     Upon receipt of the Notice of Final Order, the Nominees shall serve the Notice of

Final Order to any beneficial holders of the Williams Stock by no later than five (5) business days

after being served with the Notice of Final Order. Additionally, any person or entity, or broker or

agent acting on their behalf, who sells at least 1,224,467.60 shares (approximately 4.50% of all

issued and outstanding shares of Williams Stock) or an Option with respect thereto, to another

person or entity shall be required to provide the Notice of Final Order to such purchaser of such

Williams Stock, or any broker or agent acting on their behalf, to the extent reasonably feasible.




                                                 12
             Case 23-10961-BLS          Doc 227        Filed 08/29/23      Page 13 of 20




The Notice of Final Order will provide information as to the procedures to be followed in trading

the Williams Stock

                                       BASIS FOR RELIEF

       A.      The Significance of the Tax Attributes

       25.     As a result of past and current operations, the Debtors presently have significant

Tax Attributes. These Tax Attributes may increase as the Chapter 11 Cases proceed and could

translate into potential future income tax savings for the Debtors.

       26.     As discussed above, the IRC generally permits corporations to carry forward NOLs

and tax credits to offset future taxable income, thereby significantly improving such corporations’

cash position in the future. See 26 U.S.C. §§ 38, 39, 172, 904. Thus, the Debtors’ Tax Attributes

are a valuable asset constituting property of their estates (as discussed in more detail below) whose

availability could facilitate the Debtors’ successful reorganization and serve to improve creditor

recoveries. For example, Williams could utilize its NOLs to offset income earned or recognized

during the course of the Chapter 11 Cases or to offset any gain that may be recognized in

connection with a sale under section 363 of the Bankruptcy Code. However, absent the relief

requested herein, trading and accumulation of or the claiming of worthless stock deductions with

respect to equity securities of Williams during the pendency of the Chapter 11 Cases could severely

limit the Debtors’ ability to utilize the value of their Tax Attributes.

       B.      The Provisions of Section 382

       27.     As described above, Section 382 limits the amount of taxable income that can be

offset by a corporation’s Tax Attributes in taxable years (or portions thereof) following an

ownership change, based on a formula that takes into account the fair market value of the equity

of such corporation. This formulaic limitation under Section 382 can severely restrict the ability




                                                  13
             Case 23-10961-BLS         Doc 227        Filed 08/29/23   Page 14 of 20




to use pre-change losses because the fair market value of the equity of a distressed company may

be quite low.

       28.      If certain equity holders transfer Williams Stock, or make declarations of

worthlessness to claim deductions with respect to Williams Stock, such transfers or deductions

may trigger an ownership change that would not fall within the ambit of special relief provisions

applicable to an ownership change resulting from a confirmed chapter 11 plan because such an

ownership change would not occur pursuant to such a plan. An ownership change occurring during

the chapter 11 cases is of particular concern because it could likely result in a Section 382

Limitation. Subsequent to such an ownership change, the Debtors’ ability to utilize their Tax

Attributes both during and after these Chapter 11 Cases could be limited.

       29.      The Debtors, through this Motion, seek the ability to monitor and object to certain

changes in ownership of Williams Stock and certain declarations of worthlessness with respect to

Williams Stock so that they may prevent an ownership change during the pendency of the Chapter

11 Cases, and so preserve (i) the ability to utilize their Tax Attributes during the pendency of the

Chapter 11 Cases to offset taxable income and any potential prepetition tax claims that may be

asserted; and (ii) the flexibility in crafting a possible plan of reorganization, depending on facts

and circumstances as they develop. In short, the Debtors seek to maximize their ability to reduce

future income taxes by offsetting their income earned during these Chapter 11 Cases and thereafter

with current Tax Attributes.

       C.       Tax Attributes are Property of the Debtors’ Estates and are Entitled to
                Protection

       30.      Courts have uniformly held that a debtor’s tax attributes constitute property of the

estate under section 541 of the Bankruptcy Code, which provides that the property of the estate

comprises, among other things, “all legal or equitable interest of the debtor in property as of the



                                                 14
              Case 23-10961-BLS         Doc 227        Filed 08/29/23    Page 15 of 20




commencement of the case.” 11 U.S.C. § 541; Prudential Lines, 928 F.2d at 573 (finding that a

debtor’s potential ability to utilize NOLs is property of an estate); Official Comm. of Unsecured

Creditors for Forman Enters. v. Forman (In re Forman Enters.), 273 B.R. 408, 415 (Bankr. W.D.

Pa. 2002) (same); Nisselson v. Drew Indus. (In re White Metal Rolling & Stamping Corp.), 222

B.R. 417, 424 (Bankr. S.D.N.Y. 1998) (“it is beyond peradventure that NOL carrybacks and

carryovers are property of the estate of the loss corporation that generated them”).

        31.     Because the Debtors’ Tax Attributes are property of their estates, this Court has the

authority under section 362 of the Bankruptcy Code to enforce the automatic stay by restricting

the transfer of equity securities in the Debtors that could jeopardize the existence or value of this

asset. See In re Phar-Mor, Inc., 152 B.R. 924, 927 (Bankr. N.D. Ohio 1993) (holding that section

362 prohibited the sale of stock in the debtors as an exercise of control of the debtors’ NOLs,

which were property of the debtors’ estates). Section 362(a)(3) stays “any act [of an entity] to

obtain possession of property of the estate or property from the estate or to exercise control over

property of the estate.” 11 U.S.C. § 362(a)(3).

        32.     Pursuant to section 105(a) of the Bankruptcy Code, “[t]he court may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. § 105(a). The Debtors have a duty to take steps to preserve the value of the Tax

Attributes for the estate. Once an NOL or certain other Tax Attributes are limited under Section

382, their use is limited forever, while the use of any NUBIL is limited for a period of five years

beginning on the date of the ownership change. The limited relief sought herein is necessary to

avoid an irrevocable loss or reduction in the availability of the Tax Attributes and the irreparable

harm which could be caused by unrestricted trading in equity securities in or certain declarations

of worthlessness with respect to equity securities of Williams and the Debtors’ resulting inability




                                                  15
             Case 23-10961-BLS         Doc 227        Filed 08/29/23   Page 16 of 20




to offset taxable income freely with the Tax Attributes. The Court’s enforcement of the automatic

stay to prevent jeopardizing the value of the Tax Attributes is therefore necessary and appropriate.

       D.      The Requested Relief is Narrowly Tailored

       33.     The Debtors limit the relief requested herein to the extent necessary to preserve

estate value. The requested relief does not bar all trading of or declarations of worthlessness in

respect of Williams Stock. Instead, the Debtors seek to establish procedures enabling them to

monitor those types of transactions that pose a serious risk under the Section 382 ownership change

test, so as to preserve the Debtors’ ability to seek substantive relief if it appears that a proposed

trade of equity securities or declaration of worthlessness will jeopardize the use of their Tax

Attributes. The benefits to the Debtors and their estates of the requested relief outweighs the

theoretical burdens placed on a very small universe of potential transfers.

       34.     Moreover, the Debtors submit that the foregoing notice procedures satisfy due

process and the requirements of Bankruptcy Rule 9014 by providing the counterparties with a

notice and an opportunity to object and attend a hearing. See, e.g., In re Atamian, 368 B.R. 375,

378 (Bankr. D. Del. 2007), aff’d, No. ADV A-06-50435 (MFW), 2008 WL 853462 (D. Del. Mar.

31, 2008), aff’d, 300 F. App’x 175 (3d Cir. 2008) (noting that a hearing is not required to satisfy

Bankruptcy Rule 9014). Furthermore, the proposed notice procedures protect the due process

rights of the parties in interest without unnecessarily exposing the Debtors’ estates to unwanted

administrative expenses.

       E.      The Requested Relief Is Necessary to Avoid Irreparable Harm to the Debtors

       35.     Once an NOL or certain other Tax Attributes are limited under Section 382, their

use is limited forever, while the use of any NUBIL is limited for a period of five years beginning

on the date of the ownership change. The relief sought herein is necessary to avoid an irrevocable

loss or reduction in the availability of the Tax Attributes and the irreparable harm that could be


                                                 16
             Case 23-10961-BLS          Doc 227       Filed 08/29/23    Page 17 of 20




caused by unrestricted trading in or certain declarations of worthlessness with respect to the

Williams equity securities and the Debtors’ resulting inability to offset future taxable income freely

with their Tax Attributes.

 THE DEBTORS SATISFY THE REQUIREMENTS OF BANKRUPTCY RULE 6003(B)

       36.     Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to avoid

immediate and irreparable harm, a bankruptcy court may issue an order granting “a motion to use,

sell, lease, or otherwise incur an obligation regarding property of the estate, including a motion to

pay all or part of a claim that arose before the filing of the petition” before twenty-one days after

filing the petition. Fed. R. Bankr. P. 6003(b). The Debtors respectfully submit that Bankruptcy

Rule 6003 does not apply to the relief requested herein because the Debtors are not, by this Motion,

seeking to use, sell, or lease property of their estates. Notwithstanding the foregoing, even if the

Court were to find that Bankruptcy Rule 6003 applied to this Motion, the relief requested herein

satisfies the “immediate and irreparable harm” standard.

       37.     Immediate and irreparable harm exists where the absence of relief would

significantly disrupt a debtor’s business and operations, thereby challenging a debtor’s ability to

resolve a bankruptcy case in an orderly manner. See, e.g., In re Genco Shipping & Trading Ltd.,

509 B.R. 455, 469 (Bankr. S.D.N.Y. 2014). Here, immediate and irreparable harm would result

without the relief requested herein. As set forth in this Motion, the Debtors’ business operations

and the estates will suffer greatly if the Debtors lose the value of their Tax Attributes. The

requested relief is necessary to avoid an irrevocable loss or reduction in the availability of the Tax

Attributes and the irreparable harm which could be caused by unrestricted trading in or certain

declarations of worthlessness with respect to equity securities in the Debtors and the Debtors’

resulting inability to offset future taxable income with the Tax Attributes. Absent the requested

relief, such trading or declarations of worthlessness could occur at any time.


                                                 17
              Case 23-10961-BLS         Doc 227        Filed 08/29/23    Page 18 of 20




        38.     For these reasons, the Debtors submit that the relief requested is essential to prevent

immediate and irreparable harm to the Debtors’ operations and preserve the ongoing value of the

Debtors’ business and thus stakeholder recoveries. By this Motion, the Debtors seek to implement

procedures that would protect against such irreparable harm. Accordingly, to the extent that

Bankruptcy Rule 6003 applies to the relief requested herein, it does not require the Court to wait

twenty-one days before entering the Interim.

       REQUEST FOR WAIVER OF BANKRUPTCY RULE 6004(A) AND 6004(H)

        39.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay of an order authorizing the

use, sale or lease of property under Bankruptcy Rule 6004(h). As explained above and in the First

Day Declaration, the requested relief in this motion is necessary to avoid immediate and irreparable

harm to the Debtors. Accordingly, ample cause exists to justify the waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay imposed by Bankruptcy

Rule 6004(h), to the extent such notice requirements and such stay apply.

                                  RESERVATION OF RIGHTS

        40.     Nothing contained in this motion is intended to or shall: (a) be construed as an

admission as to the validity of any claim against the Debtors; (b) impair, prejudice, waive or

otherwise affect the rights of the Debtors or their estates to dispute the amount of, basis for, nature,

validity or priority of any claim against the Debtors; (c) impair, prejudice, waive or otherwise

affect the rights of the Debtors or their estates with respect to any and all claims or causes of action

which may exist against any third party; (d) be construed as an approval, assumption, adoption, or

rejection of any agreement, contract, lease, program, or policy between any Debtor and any third

party under section 365 of the Bankruptcy Code; or (e) create any rights in favor of, or enhance

the status or nature of any claim held by, any person. Authorization to pay the claims described in


                                                  18
             Case 23-10961-BLS          Doc 227        Filed 08/29/23   Page 19 of 20




this motion should not be deemed a direction to the Debtors to pay such claims; rather, the Debtors

will make any such payments in their discretion. In addition, any payment made pursuant to an

order of the Court granting the relief requested in this motion is not intended to be and should not

be construed as an admission to the validity of any claim or a waiver of any of the Debtors’ rights

to subsequently dispute such claim.

                                              NOTICE

       41.     Notice of this motion will be provided to: (a) the Office of the United States Trustee

for Region 3; (b) the Office of the United States Attorney for the District of Delaware; (c) counsel

to the Official Committee of Unsecured Creditors; (d) counsel to the Debtors’ secured lenders; (e)

the Internal Revenue Service; (f) the Securities and Exchange Commission; (g) the attorney

general for each state in which the Debtors operate; (h) known Substantial Shareholders and their

respective counsel (if applicable); (i) the transfer agent(s) for the Williams Stock, as applicable;

(j) Nominees; (k) any party that has requested notice pursuant to Bankruptcy Rule 2002; and (l)

any other party entitled to notice under Local Rule 9013-1(m). As this motion seeks expedited

interim relief and the equivalent of “first day” relief, notice of this motion and any order entered

in connection herewith will be served on all parties required by Local Rule 9013-1(m). Such notice

is sufficient and no further notice of this motion is required.

                                      NO PRIOR REQUEST

       42.     No previous request for the relief sought herein has been made by the Debtors to

this Court or any other court.




                                                  19
             Case 23-10961-BLS          Doc 227        Filed 08/29/23    Page 20 of 20




                                          CONCLUSION

       WHEREFORE, the Debtors respectfully request that this Court enter the Interim Order,

substantially in the form attached hereto as Exhibit A, scheduling a Final Hearing on the Motion,

thereafter, enter the Final Order substantially in the form attached hereto as Exhibit B, granting the

relief requested in this Motion and such other and further relief as the Court may deem just and proper.

 Dated: August 29, 2023.                      /s/ Mark L. Desgrosseilliers
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